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VIA ECF                                                                                              August 22, 2024
Honorable Joseph A. Marutollo
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:       Government Employees Insurance Co., et al. v. Ahmad, et al.
                       Docket No. 1:22-cv-06713(ARR)(JAM)

Dear Magistrate Judge Marutollo:

We represent Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company, GEICO
General Insurance Company, and GEICO Casualty Company (collectively, “GEICO” or “Plaintiffs”) in
connection with the above-referenced matter. Pursuant to Your Honor’s July 25, 2024 Order, together with
Defendant Gary Grody a/k/a Lance Grody (“Grody”) and counsel for Defendants Riaz Ahmad, M.D.,
Community Medical Care of N.Y., P.C., Comfort Care Medical PLLC, DLC Comprehensive Medical PLLC,
Ahmad Riaz M.D. (As a Sole Proprietorship), Riaz Ahmad M.D. (As a Sole Proprietorship) (collectively, the
“Riaz Defendants”), Big Bridge Funding, L.L.C., Lilia Ishvan, AVL Capital LLC, and Arthur Gitlevich
(collectively with Plaintiffs, Grody, and the Riaz Defendants, the “Appearing Parties”), we respectfully
submit this joint status letter.

As set forth in prior submissions, Plaintiffs have reached a settlement in principle with the Riaz Defendants,
Big Bridge Funding, L.L.C., Emil Efrem, and Citiwide NY Funding Group, Inc. (collectively, the “Settling
Defendants”). See Docket Nos. 76-78, 87, 96. The settlement remains subject to the execution of a written
settlement agreement and the fulfillment of certain conditions, which had been delayed due to the continued
hospitalization of Dr. Ahmad. However, the written settlement agreement has been circulated for execution
and the above-referenced conditions are in the process of being fulfilled. Accordingly, Plaintiffs and the
Settling Defendants anticipate filing an appropriate stipulation of dismissal by August 30, 2024.

Plaintiffs and the remaining Appearing Parties – AVL Capital LLC, Lilia Ishvan (collectively, the “AVL
Defendants”), Grody, and Arthur Gitlevich (“Gitlevich”) – are continuing to proceed with discovery. Since
the parties’ August 12, 2024 joint submission, Plaintiffs have deposed defaulted Defendant Milan Nus and,
in accordance with the Court’s July 25, 2024 directive, deposed Grody on August 21, 2024. In addition,
Plaintiffs are scheduled to depose the AVL Defendants on September 30, 2024. Moreover, as set forth in the
parties’ August 12, 2024 joint submission, the AVL Defendants served Plaintiffs with Fed. R. Civ. P. 34
Document Requests and Fed. R. Civ. P. 33 Interrogatories on July 28, 2024 – Plaintiffs are in the process of


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  preparing responses and are due to respond to these requests by September 6, 2024. The AVL Defendants
  also intend on deposing GEICO. Additionally, Gitlevich filed an Answer to Plaintiffs’ Amended Complaint
  on August 16, 2024. See Docket No. 97. To date, Grody has not filed an Answer to Plaintiffs’ Amended
  Complaint. At this time, the parties do not believe that a settlement conference would be fruitful.

  Finally, on August 19, 2024, the Court issued an Order directing, among other things, Plaintiffs to file a status
  report regarding any defaulting defendants by September 3, 2024. See Aug. 19, 2024 Order. Currently,
  Defendants Milan Nus, Larisa Shel, and Yuriy Zayonts (“Defaulted Defendants”) are in default. See Docket
  Nos. 67-68, 81. In connection with certain other matters GEICO is currently litigating in this district,
  Plaintiffs are actively discussing a global resolution that, if finalized, would encompass GEICO’s claims
  against the Defaulted Defendants in this matter. Accordingly, Plaintiffs respectfully request that the deadline
  to file a status report regarding any defaulting defendants be extended to September 13, 2024 – the deadline
  for the parties to confer and file a joint status report.

  We thank the Court for its continuing attention to this matter.

                                                        Respectfully submitted,

                                                        RIVKIN RADLER LLP

                                                        /s/ Sean Gorton
                                                        Sean Gorton, Esq.

    cc: All counsel via ECF

         Via Electronic Mail
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